Case 1:19-cv-02462-JMS-DLP Document 155 Filed 05/24/21 Page 1 of 2 PageID #: 1781




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

  JOHN M. KLUGE,                  )
                                  )
                    Plaintiff,    )
                                  )
                 v.               )                  No. 1:19-cv-02462-JMS-DLP
                                  )
  BROWNSBURG COMMUNITY SCHOOL )
  CORPORATION,                    )
                                  )
                    Defendant.    )
                                  )
                                  )
  NATIONAL ASSOCIATION OF SOCIAL  )
  WORKERS,                        )
  AMERICAN ACADEMY OF PEDIATRICS, )
  INDIANA CHAPTER OF THE AMERICAN )
  ACADEMY OF PEDIATRICS,          )
  AMERICAN MEDICAL ASSOCIATION,   )
  INDIANA YOUTH GROUP, INC.,      )
                                  )
                    Amicuss.      )

                      MINUTE ENTRY FOR MAY 24, 2021
                          STATUS CONFERENCE
                 HON. DORIS L. PRYOR, MAGISTRATE JUDGE


        The parties appeared by telephone for a Status Conference on May 24, 2021.

  The parties discussed the status of the case. The settlement conference set for June

  2, 2021 is VACATED.

        This matter is scheduled for a telephonic status conference on August 4,

  2021 at 2:00 p.m. (Eastern) to discuss case status. Counsel shall attend the status
Case 1:19-cv-02462-JMS-DLP Document 155 Filed 05/24/21 Page 2 of 2 PageID #: 1782




  conference by calling the designated telephone number, to be provided by the Court

  via email generated by the Court's ECF system.



       Date: 5/24/2021




  Distribution:

  All ECF-registered counsel of record via email

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